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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

THE INSURANCE COMPANY OF THE      )
STATE OF PENNSYLVANIA a/s/o       )
UNION INVESTMENT REAL ESTATE GMBH )
                                  )
       Plaintiff,                 )
                                  )
v.                                ) Case No.: 1:12-cv-01817 (EGS)
                                  )
INDUSTRIAL STEAM CLEANING, INC.   )
d/b/a GREASEBUSTERS,              )
                                  )
and                               )
                                  )
SIMPLEXGRINNELL, LP               )
                                  )
                                  )
       Defendants.                )
                                  )

         NOTICE OF SETTLEMENT AND JOINT MOTION TO VACATE MEDIATION
                     AND STAY ALL PENDING DEADLINES

        COME NOW Plaintiff The Insurance Company of the State of Pennsylvania a/s/o Union

Investment Real Estate GMBH (“ICOSP”) and Defendants, Industrial Steam Cleaning, Inc. and

SimplexGrinnell LP (collectively, the “Parties”), through their respective undersigned counsel,

and hereby notice this Honorable Court of a settlement reached by and between the Parties to

fully and finally resolve all claims in this matter. As a result of said settlement, the Parties

collectively move to vacate as moot the upcoming mediation scheduled by the Court for

November 14, 2013.      Furthermore, for good cause shown by the settlement of this matter, the

Parties also jointly move the Court to stay all pending litigation deadlines to permit the Parties to

formalize the terms of their settlement and prepare a dismissal of this action with prejudice.

        WHEREFORE, for the reasons stated herein, the Parties request the pending mediation

be vacated and all deadlines be stated. A draft Order is attached.


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Respectfully submitted this 4th day of November, 2013.

INDUSTRIAL STEAM CLEANING, INC.

By Counsel

/S/                              _       _         _
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THE INSURANCE COMPANY OF THE STATE OF PENNSYLVANIA
a/s/o UNION INVESTMENT REAL ESTATE GMBH

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SIMPLEXGRINNELL LP

By Counsel


/S/                                _      _        _
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                        IN THE UNITED STATES DISTRICT COURT
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INDUSTRIAL STEAM CLEANING, INC.   )
d/b/a GREASEBUSTERS,              )
                                  )
and                               )
                                  )
SIMPLEXGRINNELL, LP               )
                                  )
                                  )
       Defendants.                )
                                  )

                                             ORDER

        Upon consideration of the Parties’ Joint Motion to Vacate Mediation and Stay All

Pending Deadlines (“Motion”), it is hereby

        ORDERED that the Parties’ Motion is GRANTED; and it is further

        ORDERED that the Mediation currently scheduled for November 14, 2013 is hereby

VACATED; and it is further

        ORDERED that all deadlines shall be stayed to allow the Parties to formalize their

settlement agreement.

        SO ORDERED this _____ day of ____________, 2013.



                                                   _______________________________
                                                   Judge Emmet G. Sullivan




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